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15
                             UNITED STATES DISTRICT COURT
16                      FOR THE EASTERN DISTRICT OF CALIFORNIA

17
       MOMS FOR LIBERTY – YOLO COUNTY;
18     INDEPENDENT COUNCIL ON
       WOMEN’S SPORTS; CALIFORNIA
19     FAMILY COUNCIL; ELISABETH Y.
       BOURNE; ALLISON L. SNYDER;
20     SOPHIA LOREY; KIM JONES; and                      COMPLAINT
       CLARE ERIN FRIDAY,
21                      Plaintiffs,
22                      v.
       YOLO COUNTY; DIANA LOPEZ, in her
23                                                       Case No. _______________________
       official capacity as Yolo County Librarian;
       and D. SCOTT LOVE, in his official
24     capacity as Library Regional Manager for the
       West Yolo County Library Region,
25
                               Defendants.
26
27

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1                                                 JURISDICTION

2            1.       The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

3    §§ 1331 and 1343, as Plaintiffs allege that Defendants are violating 42 U.S.C. § 1983 by depriving

4    them, under color of state law, of rights, privileges, and immunities secured by the First and

5    Fourteenth Amendments to the United States Constitution.

6                                                     VENUE

7            2.       This Court is the proper venue for this action per 28 U.S.C. § 1391(b) because a

8    substantial part of the events and omissions giving rise to the claim have occurred and are occurring

9    in this judicial district.

10                                                INTRODUCTION

11           3.       “If there is any fixed star in our constitutional constellation, it is that no official,

12   high or petty, can prescribe what shall be orthodox in politics, nationalism, religion, or other matters

13   of opinion or force citizens to confess by word or act their faith therein.” W. Va. State Bd. of Educ.

14   v. Barnette, 319 U.S. 624, 642 (1943).

15           4.       Of all government officials, librarians—people entrusted with disseminating a broad

16   range of perspectives and voices—should be expected to understand this much. But Yolo County

17   librarians Defendants Scott Love and Diana Lopez believe that their job is to enforce conformity

18   with the government’s official views. They not only allow their ideological allies to disrupt

19   speakers whose views they reject, they actively censor speech with which they disagree.

20           5.       Indeed, when Plaintiffs’ ideological opponents disrupted their library event because
21   they disagreed with Plaintiffs’ viewpoint, Love stood ready to escalate the disruption to the level

22   of official censorship—and did so. He declared that Plaintiffs’ mere assertion that “men” should

23   not be allowed to play on women’s teams was unlawful speech, and expelled Plaintiffs from the

24   space they had rented.

25           6.       Defendants are not required to agree with Plaintiffs’ views about protecting

26   women’s sports. The First Amendment, however, requires that Defendants allow Plaintiffs to speak
27   freely about the integrity of female athletics in library meeting rooms. It demands public library

28   officials not enable—let alone participate—in the disruption and cancellation of Plaintiffs’ events


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1    on account of their viewpoints. The Court should hold Defendants accountable for the damage they

2    caused in censoring Plaintiffs’ event and ensure that such censorship never happens again.

3                                                  THE PARTIES

4           7.        Plaintiff Moms for Liberty – Yolo County (“Yolo M4L”) is the Yolo County,

5    California Chapter of Moms for Liberty, a 501(c)(4) organization whose mission is to organize,

6    educate and empower parents to defend their parental rights at all levels of government.

7           8.        Plaintiff Elisabeth (Beth) Y. Bourne resides in Yolo County, California, and is the

8    Chair of Plaintiff Moms for Liberty – Yolo County.

9           9.        Plaintiff Allison (Allie) L. Snyder is a mother whose child attends a Yolo County

10   public school.

11          10.       Plaintiff Sophia Lorey is Outreach Director at Plaintiff California Family Council.

12          11.       Plaintiff California Family Council is an organization that seeks to advance God’s

13   design for life, family, and liberty through California’s Church, Capitol, and Culture.

14          12.       Plaintiff Independent Council on Women’s Sports (“ICONS”) is a non-partisan,

15   non-profit organization comprised of current and former collegiate and professional women

16   athletes, their families, and their supporters. ICONS engages in public and legal advocacy on the

17   importance of protecting the integrity of female athletics.

18          13.       Plaintiff Kim Jones is a co-founder of Plaintiff ICONS.

19          14.       Plaintiff Clare (Erin) Friday serves as a regional lead for Our Duty, an international

20   support network for parents who wish to protect their children from the harms of identifying with
21   a gender identity inconsistent with their sex.

22          15.       Defendant Yolo County is a corporate body and legal subdivision of the State of

23   California. Defendant Yolo County established the Yolo County Library pursuant to California

24   law. See Yolo Cnty., Cal. Ordinances § 2-5.401 (Res. of Oct. 4, 1915); Cal. Educ. Code § 19100.

25   Defendant Yolo County’s Board of Supervisors appoints Defendant County Librarian. Cal. Educ.

26   Code § 19140. Under California law, Defendant Yolo County sets general rules and policy for the
27   operation of the County Library. Cal. Educ. Code § 19146.

28


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1            16.    Defendant Diana Lopez is, and at all relevant times has been, Yolo County’s

2    official Librarian. In that role, Lopez “shall, subject to the general rules adopted by the board of

3    supervisors, build up and manage, according to accepted principles of library management, a

4    library for the use of the people of the county.” Cal. Educ. Code § 19146. Defendant Yolo County

5    has delegated Lopez the authority to enact, amend, and enforce policies governing libraries in the

6    County, including the Policy and Code challenged herein, as well as the authority to hire,

7    terminate, and supervise library employees. She is sued in her official capacity.

8            17.    Defendant D. Scott Love is, and at all relevant times has been, the Library Regional

9    Manager for the West Yolo County Library Region, which includes the Mary L. Stephens – Davis

10   Branch Library. As Library Regional Manager, Defendant Love has the authority and duty to

11   enforce policies adopted by Defendant Yolo County and Defendant County Librarian Lopez,

12   including the Policy and Code challenged herein, at the libraries under his jurisdiction, including

13   Mary L. Stephens. He is sued in his official capacity.

14                                         STATEMENT OF FACTS

15                                     Defendants’ Policy and Code

16           18.    Defendants maintain a Library Meeting Room Policy (the “Policy”) governing the

17   use of library facilities by not-for-profit groups. A true and correct copy of the Library Meeting

18   Room Policy is attached hereto as Exhibit A.

19           19.    The Policy provides that library facilities should be made “available on an

20   equitable basis, regardless of the beliefs or affiliations of individuals or groups requesting their
21   use,” Ex. A at 1 (quoting Library Bill of Rights, Article Six), and provides that “viewpoint neutral

22   political forums may be allowed.” Id. at 2. However, the Policy also requires that “[m]eeting

23   rooms must be used in a way so that any use advances the Yolo County Library’s mission to

24   provide access for all to ideas that inform, entertain, and inspire, and to ‘connect people and

25   ideas.’” Id.

26           20.    The Policy prohibits “any group whose program would interfere in any way with
27   library services” from reserving meeting rooms. Id. at 3.

28


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1            21.     Defendant Lopez interprets the Policy to prohibit groups from bringing private

2    security to events in reserved rooms because that security would “interfere” with “library

3    services.”

4            22.     Failing to comply with the Policy’s terms “will result in withdrawal of room

5    reservation privileges.” Id. at 2.

6            23.     Defendants also maintain a Library Code of Behavior (the “Code”), which requires

7    all people on library property to “[t]reat people, materials and furniture with respect.” Ex. B at 1.

8    A true and correct copy of the Library Code of Behavior is attached hereto as Exhibit B.

9            24.     The Code warns that “intentionally interfer[ing] with the business of the library by

10   obstructing or intimidating those attempting to carry on business in the library and . . . refus[ing]

11   to leave the library after being requested to do so by the library management” is a “misdemeanor.”

12   Id. (citing Cal. Penal Code § 602.1).

13           25.     The Code further provides that “[a]ll other laws pertaining to behavior in a public

14   place apply, including California Penal Code Sections 314, 415, 647 and 653b.” Id. California

15   Penal Code § 415, “Disturbing the Peace,” imposes fine and imprisonment upon “(2) Any person

16   who maliciously and willfully disturbs another person by loud and unreasonable noise.”

17           26.     Defendant Lopez interprets the Code to prohibit disrupting scheduled events in

18   reserved rooms.

19                       Defendants’ Discrimination Against Plaintiffs’ Viewpoints

20           27.     The individual Plaintiffs generally believe that sex is binary, biologically
21   determined, and immutable. Moreover, they believe that men’s physiology generally enables them

22   to outperform women athletically. Accordingly, they believe that the participation of boys and

23   men in female sports is dangerous and unfair, and that girls and women are harmed by the

24   ideologies that reject their beliefs regarding sex. The individual Plaintiffs wish to express their

25   views on these subjects in order to persuade others, and ultimately influence public policy.

26           28.     Plaintiff Jones founded ICONS to advance these views on sex and participation in
27   athletics. Many Yolo M4L members agree, and Yolo M4L believes that a frank and open debate

28   about these subjects is essential. Plaintiffs believe that parents’ right to direct the upbringing of


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1    their children includes the right to counsel and direct their children with respect to matters of sex

2    and gender according to their own values and understanding of the world.

3           29.     Accordingly, Plaintiffs wish to foster and participate in the public debate

4    concerning sex, gender identity, and participation in athletics. To that end, Yolo M4L has reserved

5    Yolo County public library meeting rooms for use by the Plaintiffs to advance debate and

6    discussion of their views.

7           30.     Defendants have used their governmental authority to frustrate and block

8    Plaintiffs’ expression on these subjects by refusing to enforce their rules against the disruption of

9    Plaintiffs’ events, and even shouting down and terminating Plaintiffs’ speech with which they

10   disagree.

11                            February 25 – the “Brave Books Family Hour”

12          31.     Yolo M4L and Bourne reserved the Blanchard Room at Yolo County’s Mary L.

13   Stevens – Davis Branch Library to present a “Brave Books Family Hour” on February 25, 2023.

14   The event aimed to foster discussion of children’s books published by Brave Books, which

15   celebrate families and honor traditional values.

16          32.     On February 6, 2023, prior to the Brave Books event, Defendant Lopez emailed

17   Defendant Love and Crista Cannariato, Yolo County Regional Supervisor, West Yolo Region

18   about Plaintiffs Yolo M4L and Bourne’s request to use the Blanchard Room for the February 25

19   event, offering that she “was relieved” that some parents had accused Bourne of “transphobia,”

20   and instructing Cannariato that she “should go ahead and proceed as we discussed.” Ex. C at 1. A
21   true and correct copy of that email is attached hereto as Exhibit C.

22          33.     The same day, Cannariato emailed Davis City Councilmember Gloria Partida.

23   Partida is founder of the Davis Phoenix Coalition, a group that had previously supported a drag

24   queen story hour at the library and whose views on sex and gender are antithetical to those of

25   Plaintiffs. Cannariato wrote about the “difficult issue the Library [was] facing” from Yolo M4L

26   and Bourne’s request to use the Blanchard room for the February 25 event. Cannariato labeled
27   Bourne as a “vocal anti-trans member of the community,” and expressed concerns that Bourne

28


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1    would “attempt to promote” her “anti-trans” “agenda” at the event. Ex. D at 4. A true and correct

2    copy of that email thread is attached hereto as Exhibit D.

3           34.     Ms. Cannariato asked Ms. Partida if the Phoenix Coalition would “be interested”

4    in “partner[ing]” with the library to “host” a “queer-affirming event[ ].” Id.

5           35.     Partida responded two hours later, copying Davis Phoenix Coalition’s Rainbow

6    Families Director Anoosh Jorjorian. Id. at 3. Partida thanked Cannariato for “bringing” the

7    “deeply disturbing” event to her attention and asked whether the library had “specific rules against

8    holding events that violate creating safe spaces for all?” Id. Cannariato replied that,

9    “[u]nfortunately,” the library did “not feel confident” that it “could legally defend refusing the

10   reservation under [its] current meeting room use policy.” Id. at 2. But she asserted that the library

11   would “be looking at how” it could “strengthen” its Policy and Code “in the future to better protect

12   the community against potential hate speech.” Id.

13          36.     Ms. Cannariato wrote that she “would love to do another Drag Queen story hour”

14   and also “would love to have some queer positive programming scheduled for around the time

15   of” the February 25 event. Id. at 2–3.

16          37.     On February 9, 2023, Defendant Love emailed the City of Davis Police

17   Department, its chief, Darren Pytel, and a City of Davis official to express “concerns with” Moms

18   for Liberty “using the room.” Defendant Love warned them that “Brave Books” had advertised

19   the event, “which may draw more like-minded individuals to the program.” Defendant Love wrote

20   that Bourne tried “to get an anti-trans book added” to school libraries and “complain[ed] about a
21   trans documentary” shown at Davis Senior High School. Ex. E at 2–3. A true and correct copy of

22   Defendant Love’s email correspondence is attached hereto as Exhibit E.

23          38.     On February 18, 2023, Defendant Love emailed Yolo County Sheriff Tom Lopez

24   concerns about the event and informed him that the library was not “involved in” the event

25   because it contravened the library’s “diversity, equity and inclusion values.” Ex. F at 1. A true

26   and correct copy of that email is attached hereto as Exhibit F.
27          39.     On February 22, 2023, Defendant Love wrote a community member that the

28   proposed Brave Books event had “been quite the awakening to” the library and that library


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1    officials were “none too happy about” it. A true and correct copy of that email is attached hereto

2    as Exhibit G.

3           40.      The day before the Brave Books event, Defendant Lopez emailed library staff and

4    informed them that Moms for Liberty is “anti-LGBTQIA, anti-woke, [and] anti-critical race

5    theory.” Lopez told staff that the library would display “LGBTQIA-affirming materials,”

6    including books, “LGBTQIA+ resources bookmark[s],” an “LGBTQIA+ bibliography,” and

7    “LGBTQIA+ flag buttons” in the library during the event. Ex. H at 1, 3. Defendant Lopez also

8    asked staff to “report” “hate speech” to supervisors “immediately,” defining “hate speech” as

9    “offensive discriminatory language that attacks or uses discriminatory language with reference to

10   a person or a group on the basis of who they are, in other words, based on their religion, ethnicity,

11   nationality, race, color, descent, sexual orientation, gender or other identity.” Ex. H at 4. A true

12   and correct copy of that email is attached hereto as Exhibit H.

13          41.      The February 25 event hosted approximately 25 people, including three protestors

14   who stood in the back of the room, and finished successfully with no disruption.

15                           March 17 – Affirmation Generation film screening

16          42.      On March 17, 2023, Yolo M4L hosted a screening of the film Affirmation

17   Generation and a discussion with its executive producer, Joey Brite, a Northern California

18   lesbian-feminist leader, in the Blanchard Community Room at the Mary L. Stevens – Davis

19   Branch Library. Approximately twenty people attended the event.

20          43.      Affirmation Generation exposes the consequences of so-called “gender affirming
21   care” and features stories of detransitioners who medically transitioned to live as the opposite sex

22   but have now reverted to living consistent with their natal sex, having suffered numerous lifelong

23   medical complications due to their transition.

24          44.      During the event, Anoosh Jorjorian stood in the front of the room, next to the

25   screen and held up signs protesting the film. Jorjorian’s signs included the messages “Transphobia

26   = hate,” “Trans is Natural,” and “Fact-Free Fear-Mongering Propaganda.” Jorjorian wrote new
27   signs, rolled her eyes, and laughed dismissively for approximately 60 minutes of the nearly 90-

28   minute film.


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1           45.     Snyder and Brite asked Jorjorian to take her protest either to the back of the room

2    or outside, but Jorjorian refused to move.

3           46.     Moreover, during the screening, protestors on the sidewalk on library property

4    immediately outside the room deliberately made disruptive noise, causing attendees to have

5    difficulty hearing the film.

6           47.     After the event, Snyder emailed Defendants Lopez and Love about Jorjorian’s

7    disruption. Lopez apologized for the “disrupt[ion],” and wrote that she “spoke[ ] with Anoosh

8    Jorjorian about the importance of not disturbing scheduled events of other groups.” Lopez

9    conceded that Defendants’ Code prohibited “disrupt[ing] others” in reserved rooms, but did not

10   reference any other consequence for Jorjorian’s disruption of the event. Ex. I at 1. A true and

11   correct copy of the email chain between Snyder, Lopez and Love regarding this event is attached

12   hereto as Exhibit I.

13          48.     Upon information and belief, Jorjorian has not suffered any consequence for

14   violating Defendants’ Code.

15                                       April 22 – Lecture on
                  “The Biology of Sex & Gender Curricula in California Public Schools”
16
            49.      On April 22, 2023, Yolo M4L sponsored a lecture in the Blanchard Community
17
     Room at the Mary L. Stevens – Davis Branch Library by Colin Wright titled “The Biology of Sex
18
     & Gender Curricula in CA Public Schools.”
19
            50.     Before the event, Bourne asked the Davis Police Department for police assistance
20
     because of Jorjorian’s past disruption and the library’s refusal to address the disruption. A Davis
21
     Police Department lieutenant responded that he could alert officers to “[b]e aware of the
22
     incident/event” but he could not “guarantee anything.” The lieutenant “agree[d] with” Bourne that
23
     “the appropriate course of action [would be] to hire a private security company for [the] event.”
24
     Ex. J. at 4. A true and correct copy of the summary of Bourne’s correspondence with the Davis
25
     Police Department regarding police presence at library events is attached hereto as part of Exhibit
26
     J.
27

28


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1            51.     Because of the lack of guaranteed police presence, Bourne hired two private

2    security guards for the April 22 event, which proceeded without disruption before approximately

3    50 attendees, despite the presence of approximately 24 protestors outside the meeting room.

4            52.     Although the event did not interfere with the provision of any library services,

5    Defendants Lopez and Love emailed Bourne to declare that the presence of private security guards

6    violated the Policy because “[e]vents or programs that require the presence of security in the

7    library is [sic] clearly a disruption to library services” and thus “interfere” with “library services.”

8    Ex. J at 2. Although Defendants prohibited Plaintiffs from bringing private security guards to

9    future events, they did not guarantee Bourne that the library would take any action to enforce its

10   policies against future disruption of Yolo M4L events. A true and correct copy of Bourne’s

11   correspondence with Lopez and Love regarding library event security is attached hereto as Exhibit

12   J.

13                           May 21 – “Book Curation for Child Safeguarding”

14           53.     On May 21, 2023, Yolo M4L hosted an event in the Blanchard Community Room

15   at the Mary L. Stevens – Davis Branch Library titled, “Book Curation for Child Safeguarding,”

16   which explored whether books currently available in local schools and libraries are inappropriate

17   for children.

18           54.     Approximately 25 people attended the event. Among these, approximately 15

19   protestors spoke out of turn during the discussion, disrupting the event and preventing Yolo M4L

20   from conducting it as planned.
21           55.     Defendants did not remove any protestors or stop them from disrupting the event,

22   nor did Defendants take any action against those who disrupted the event. Defendants did not

23   discipline any of the protestors for their violation of Defendants’ Code.

24                         August 20 – “Forum on Fair and Safe Sport for Girls”

25           56.     Plaintiffs Yolo M4L and Bourne reserved the Blanchard Community Room for an

26   August 20 event titled “Forum on Fair and Safe Sport for Girls.” A true and correct copy of a flyer
27   and agenda for the Forum is attached hereto as Exhibit K.

28


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1             57.    The Forum aimed to “[e]mpower and protect girls’ sports and female athletes,”

2    “[d]efend the original intent of Title IX,” and “[c]reate a powerful network of coaches, parents,

3    and girls’ sports supporters.” Ex. K at 3.

4             58.    Plaintiffs Lorey, Friday, Jones, Snyder, and Bourne all planned to speak at the

5    forum. Lorey intended to discuss her experience playing on her high school and college’s female

6    soccer teams. Friday planned to discuss California state policies and California Interscholastic

7    Federation (CIF) policies regarding participating in sports based on asserted gender identity and

8    the impact on girls’ sports in California. Jones, on behalf of ICONS, intended to discuss the history

9    and current status of Title IX and its protection for female sports. And Snyder and Bourne planned

10   to discuss the damage to girls’ sports caused by CIF’s “Gender Diverse Inclusivity Toolkit,”

11   which allows youth to compete in sports based on asserted gender identity.

12            59.    Approximately fifteen minutes prior to the forum’s start, Defendant Love

13   approached Bourne, Snyder, and Jones, in an interaction videoed by Snyder with the consent of

14   all participants.

15            60.    Defendant Love told Bourne, Snyder, and Jones that California law and

16   Defendants’ Code prohibited “misgendering,” and that “California state law recognizes

17   transgender” as “protected.” Love instructed that if Plaintiffs “speak[ ] about a transgender

18   female, they need to be referred to as a female; transgender male needs to be referred to as a

19   male.”

20            61.    Defendant Love warned Plaintiffs that “if there is any misgendering” he would ask
21   that person to “leave” with “no exceptions.” According to Love, that was “it” and his “direction.”

22            62.    Bourne asked Love if Plaintiffs could say, before talking about a transgender-

23   identifying person, that “this was my belief and this is what I see?” But Love prohibited that

24   speech. He declared that Plaintiffs’ proposal would violate Defendants’ Code by not treating

25   others with “respect” because it would “call[ ]” that person “a gender they are not.”

26            63.    The forum attracted 65 attendees, including approximately 25 protestors and
27   Defendant Love. Love encouraged protestors outside the library to enter the Blanchard Room,

28


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1    and told an attendee that he hoped more people would enter the room so that it would exceed its

2    capacity and require the fire marshal to terminate Plaintiffs’ forum.

3           64.     Lorey opened the forum, but within two minutes, as soon as she mentioned “men”

4    playing on women’s sports teams, a protester in the audience shouted her down for

5    “misgendering,” and demanded to know whether Lorey planned to “misgender” throughout her

6    presentation. As on cue, Defendant Love then warned the speakers that if “transgender females”

7    were called “males,” the person saying so would violate the library’s Code and would be asked

8    “to leave immediately.” Love told Plaintiffs, “California state law recognizes trans women as

9    women.” He added that Defendants’ Code “talks about treating people with respect and if

10   [Plaintiffs] are misgendering somebody, that is not respectful.”

11          65.     Lorey continued with her talk for approximately one more minute, during which

12   she discussed her dream to be a college soccer player and her success in achieving that dream.

13   But when Lorey asserted that “current 10-year-old girls cannot live out [the] same dream as long

14   as men are allowed to compete in women’s sports,” protestors interrupted to shout that she could

15   not refer to “men” competing in women’s sports.

16          66.     Defendant Love warned that she was “misgendering,” and threatened to eject her

17   if she “misgendered” again.

18          67.     Lorey continued with her talk, stating that “no matter how hard biological girls

19   work, they will . . . never be able to be physiologically faster and stronger than biological men

20   that are trying to play in biological female sports. Allowing biological men in women’s sports
21   does not create an equal playing field, but instead robs young girls of their athletic aspirations.”

22   But as Lorey spoke, protestors laughed and talked over her.

23          68.     Defendant Love then asked Lorey to leave the Blanchard Room because she was

24   “misgendering,” and declared that he would “shut the entire program down” if she did not leave.

25          69.     At this point, Friday rose to speak about the importance of free speech for all, only

26   to be interrupted and heckled by protestors. And rather than address the disruption of Friday’s
27   speech, Love reiterated his command that Lorey leave because of her “misgendering” and again

28   declared that if she did not leave, he would “shut down” the program.


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1           70.       Lorey moved from the podium and stood quietly on the side of the room at

2    Defendant Love’s command. But Defendant Love then started walking out of the room and said,

3    “The program is over.” Love informed Plaintiffs that if they did “not leave,” it would “affect”

4    Yolo M4L’s “standing” to use the room for future events.

5           71.       Friday then began her talk, but Love soon reentered the room. After Friday said,

6    “How did we get to where boys can compete in girls’ sports and take their scholarships, trophies,

7    and podium spots,” Love instructed “everyone” to “leave.” Friday had spoken for approximately

8    three minutes.

9           72.       Defendant Love then turned off the projector to prevent the program from

10   continuing, and Plaintiffs left the library. No Plaintiff completed her planned remarks.

11          73.       Bourne, Snyder, Lorey, and Friday all incurred travel expenses to attend the forum

12   Defendant Love shut down.

13          74.       Bourne incurred advertising, recording, livestreaming, and food and beverage

14   expenses for the forum Defendant Love shut down.

15             The Continuing Impact of Defendants’ Discriminatory Policies and Practices

16          75.       Plaintiffs desire to host the entire forum in the Blanchard Room, deliver their

17   prepared remarks, and promote their views on women’s sports, as originally planned. To this

18   end, Yolo M4L has reserved the Blanchard Room for March 3, 2024.

19          76.       Plaintiffs Yolo M4L, Bourne, and Snyder also intend to continue reserving

20   meeting rooms at Yolo County public libraries to disseminate their views on sex, gender, and
21   other controversial topics—views that are (for now) unpopular in Yolo County and which are

22   unlikely to be aligned with Defendants’ political preferences.

23          77.       But when Plaintiffs sought Defendants’ assurances that they would cease

24   discriminating against their viewpoints and take steps to enable their events at the public library,

25   Defendants refused, and instead, all but confirmed that they would remain committed to censoring

26   Plaintiffs’ speech.
27          78.       On September 6, 2023, counsel for Plaintiffs wrote to Defendant Lopez, requesting

28   that she “confirm in writing that”:


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1           a.      Plaintiffs and audience members could “express their understanding of sex and

2                   gender during the event, even if library officials consider this to be ‘misgendering’

3                   or otherwise wrong or offensive”;

4           b.      Library officials would “not shut down the event or try to censor anyone that refers

5                   to a person whose natal sex is male as male, man, boy, he, or him, or that refers to

6                   a person whose natal sex is female as female, woman, girl, she, or her”;

7           c.      Library officials would “not take any adverse action against [Plaintiffs] or

8                   members of the audience based on their viewpoint related to gender identity or the

9                   sex or gender of participants in sports”;

10          d.      Library officials would “provide adequate security” and “promptly remove any

11                  attendee(s) that attempts to disrupt the event in any way, including but not limited

12                  to, shouting down or interrupting the speakers, making sounds that interfere with

13                  the speakers’ ability to be heard, blocking entrances or exits, or obstructing views”;

14                  and

15          e.      Plaintiffs could “hire private security” if they desired.

16   Ex. L at 1–2. A true and correct copy of Plaintiffs’ counsel’s email is attached hereto as Exhibit

17   L.

18          79.     On September 13, 2023, counsel for Defendant Lopez responded. A true and

19   correct copy of that letter is attached hereto as Exhibit M.

20          80.     Counsel for Defendant Lopez “recognize[d]” Defendants’ “legal obligation” to
21   comply with “the First Amendment . . . with the understanding that the Library’s public meeting

22   rooms are a designated public forum.” But rather than agree that Plaintiffs could express their

23   views about sex and gender, Lopez’s Counsel suggested that Defendants are not obliged to permit

24   “‘fighting words’ or other categories of speech that federal courts have previously held [to be]

25   unworthy of First Amendment protection.”

26          81.     Moreover, Lopez’s Counsel refused to “extend a vague assurance that those who
27   ‘disrupt the event in any way’ will be removed.” Instead, he sought “additional discussion” about

28   “mutual expectations” regarding “the scope of the County’s legal responsibility and on matters


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1    such as the role of security, staffing, costs, as well as other measures, such as ticketing, that may

2    promote a safe and effective event.” But no discussion was welcomed about Plaintiffs’ provision

3    of their own security: “[i]n no circumstance” would Defendants “permit a private security

4    presence.” Ex. M at 1.

5            82.     In other words, rather than assure that the library rules prohibiting disruption

6    would be enforced to secure Plaintiffs’ events, Defendants suggested Plaintiffs’ speech is

7    unprotected, and took the position that Plaintiffs would have to pay the County (“mutual

8    expectations” about “costs”) for security or restrict access to their event (“ticketing”), assuming

9    that their speech would be allowed in the first place.

10           83.     Counsel for Defendant Lopez did not confirm that Defendants would honor any of

11   Plaintiffs’ five requests.

12           84.     Considering (1) Defendants’ hostility to Plaintiffs, and their record of (2) inviting

13   people to disrupt Yolo M4L’s events, (3) failing to enforce basic rules against those who disrupt

14   Yolo M4L events, (4) rigid enforcement of their policies to silence Plaintiffs’ speech, (5)

15   contacting law enforcement to denounce Plaintiffs and their audience, (6) Defendant Love’s

16   expressed hope that Plaintiffs’ event would be shut down by the fire marshal, and (7) Lopez

17   counsel’s suggestion that Plaintiffs’ speech is unprotected and that Plaintiffs must pay for

18   security to present their events, Plaintiffs refrain from holding their March 3 forum or other
19   events at Yolo County public library meeting rooms for fear that if they go forward with the
20   forum or other events, protestors allied with and enabled by Defendants will again shout down
21   Plaintiffs’ forum and other events; and that Defendants will again censor Plaintiffs, terminate

22   Plaintiffs’ forum or other events for “misgendering” and other perceived offenses under their

23   practices and policies, and expel Plaintiffs, including by subjecting them to arrest and

24   prosecution under Cal. Penal Code 602.1 as set forth by their Code.
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1                                          COUNT ONE
                       FIRST AMENDMENT RIGHT OF FREE SPEECH, 42 U.S.C. § 1983
2                              CONTENT AND VIEWPOINT DISCRIMINATION
                           FACIAL CHALLENGE TO LIBRARY CODE AND POLICIES
3
               85.   Plaintiffs reallege all matters set forth in paragraphs 1–84 and incorporate them
4
     herein.
5
               86.   The First Amendment protects the speech that Plaintiffs have expressed, attempted
6
     to express, and intend to continue expressing at their events in Yolo County public library meeting
7
     rooms.
8
               87.   As Defendants acknowledged, the meeting rooms at the Yolo County public
9
     libraries are designated public fora for First Amendment purposes. Accordingly, content-based
10
     restrictions in the Yolo County public libraries are presumptively unconstitutional and subject to
11
     strict scrutiny, and viewpoint-based restrictions in these fora are prohibited.
12
               88.   The rule within Defendants’ meeting room policy providing that “[m]eeting rooms
13
     must be used in a way so that any use advances the Yolo County Library’s mission to provide
14
     access for all to ideas that inform, entertain, and inspire,” violates the First Amendment right of
15
     free speech on its face by discriminating against speech on the basis of content and viewpoint.
16
               89.   The requirement of Defendants’ Library Code of Behavior demanding that
17
     “people” must be treated with “respect” violates the First Amendment right of free speech on its
18
     face by discriminating against speech on the basis of content and viewpoint.
19
               90.   Defendants maintain a custom, policy, and practice that prohibits speakers from
20
     referring to people in accord with their natal sex (“misgendering”), and from criticizing or
21
     questioning any tenet of ideologies that claim that sex is not binary and immutable. This custom,
22
     policy, and practice violates the First Amendment right of free speech by discriminating against
23
     speech on the basis of viewpoint.
24
               91.   Defendants maintain a custom, policy, and practice of enabling the disruption of
25
     speakers who refer to people in accord with their natal sex (“misgendering”), and who criticize or
26
     question any tenet of ideologies that claim that sex is not binary and immutable. Defendants
27
     implement this policy by inviting and directing protestors to meeting rooms with the expectation
28


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1    that the protestors would disrupt the disapproved speech, and by refusing to enforce their Code or

2    other policies governing the disruption of library events which are expected to contain the

3    disapproved speech. This custom, policy, and practice violates the First Amendment right of free

4    speech by discriminating against speech on the basis of viewpoint.

5              92.   By enforcing these provisions and customs, practices, and policies, Defendants,

6    under color of law, deprive Plaintiffs of the right to free speech in violation of the First and

7    Fourteenth Amendments to the United States Constitution. Plaintiffs are thus damaged in

8    violation of 42 U.S.C. § 1983, and are therefore entitled to damages; declaratory, and preliminary

9    and permanent injunctive relief against continued enforcement and maintenance of Defendants’

10   unconstitutional provisions, customs, policies, and practices; and attorney fees and expenses

11   pursuant to 42 U.S.C. § 1988.
                                            COUNT TWO
12                     FIRST AMENDMENT RIGHT OF FREE SPEECH, 42 U.S.C. § 1983
                                CONTENT AND VIEWPOINT DISCRIMINATION
13                           AS-APPLIED CHALLENGE TO LIBRARY CODE AND POLICIES
14             93.   Plaintiffs reallege all matters set forth in paragraphs 1–84 and incorporate them
15   herein.
16             94.   As applied against Plaintiffs, the requirement of Defendants’ Library Code of
17   Behavior demanding that “people” must be treated with “respect” violated and continues to
18   violate the First Amendment right of free speech by discriminating against speech on the basis of
19
     content and viewpoint.
20             95.   In defining any speech that would require security as an interference with library
21   services, Defendants authorize an unconstitutional heckler’s veto and adopt it as their own
22   content- and viewpoint- based action. Thus, as applied against Plaintiffs, the provision of
23   Defendants’ Policy that prohibits speech that “interfere[s] in any way with library services” also
24   discriminates based on content and viewpoint.
25             96.   By enforcing these provisions and customs, practices, and policies, Defendants,
26   under color of law, deprive Plaintiffs of the right to free speech in violation of the First and
27   Fourteenth Amendments to the United States Constitution. Plaintiffs are thus damaged in
28


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1    violation of 42 U.S.C. § 1983, and are therefore entitled to damages; declaratory, and preliminary

2    and permanent injunctive relief against continued enforcement and maintenance of Defendants’

3    unconstitutional provisions, customs, policies, and practices; and attorney fees and expenses

4    pursuant to 42 U.S.C. § 1988.

5                                          COUNT THREE
                        FIRST AMENDMENT RIGHT OF FREE SPEECH, 42 U.S.C. § 1983
6                                          OVERBREADTH
7              97.    Plaintiffs reallege all matters set forth in paragraphs 1–84 and incorporate them
8    herein.
9              98.    A rule is overbroad, in violation of the First Amendment, if “a substantial number
10   of its applications are unconstitutional, judged in relation to [its] plainly legitimate sweep.” United
11   States v. Stevens, 559 U.S. 460, 473 (2010) (quoting Wash. St. Grange v. Wash. St. Republican
12   Party, 552 U.S. 442, 449 n.6 (2008)).
13             99.    The rule within Defendants’ meeting room policy providing that “[m]eeting rooms
14   must be used in a way so that any use advances the Yolo County Library’s mission to provide
15   access for all to ideas that inform, entertain, and inspire,” is facially overbroad, in violation of
16   the First Amendment right of free speech, as it purports to forbid a vast array of protected
17   speech—all speech that Defendants may not find informative, entertaining, or inspiring.
18             100.   The requirement of Defendants’ Library Code of Behavior demanding that
19   “people” must be treated with “respect,” is facially overbroad, in violation of the First Amendment
20   right of free speech, as it purports to prohibit all communication that is not “respectful” of other
21   people.
22             101.   By enforcing these provisions and customs, practices, and policies, Defendants,
23   under color of law, deprive Plaintiffs of the right to free speech in violation of the First and
24   Fourteenth Amendments to the United States Constitution. Plaintiffs are thus damaged in
25   violation of 42 U.S.C. § 1983, and are therefore entitled to damages; declaratory, and preliminary
26   and permanent injunctive relief against continued enforcement and maintenance of Defendants’
27

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1    unconstitutional provisions, customs, policies, and practices; and attorney fees and expenses

2    pursuant to 42 U.S.C. § 1988.

3                                      COUNT FOUR
      FIRST AND FOURTEENTH AMENDMENT RIGHTS OF FREE SPEECH, DUE PROCESS, 42 U.S.C. § 1983
4                                       VAGUENESS
5              102.   Plaintiffs reallege all matters set forth in paragraphs 1–84 and incorporate them

6    herein.

7              103.   As notice is the first element of due process, the Fourteenth Amendment guarantee

8    of Due Process prohibits the enforcement of vague laws. The First Amendment likewise forbids

9    the enforcement of laws that, however valid their application may be in some instances, are so

10   vague as to chill protected speech.

11             104.   The rule within Defendants’ Policy providing that “[m]eeting rooms must be used

12   in a way so that any use advances the Yolo County Library’s mission to provide access for all to

13   ideas that inform, entertain, and inspire,” is unduly vague, as is the requirement of Defendants’

14   Library Code of Behavior demanding that “people” must be treated with “respect.”

15             105.   Defendants do not define what it means to “[t]reat” others with “respect.”

16             106.   These provisions do not afford a person of ordinary intelligence fair notice of what

17   is prohibited and are so standardless that they authorize discriminatory enforcement.

18             107.   The lack of definitions, the inherent subjectivity of those terms, and the breadth of

19   those terms render Defendants’ Policy and Code incapable of providing meaningful guidance on

20   what they prohibit to Defendants or Plaintiffs.
21             108.   Accordingly, these provisions, on their face and as applied against Plaintiffs,

22   violate their rights to free speech and due process.

23             109.   By enforcing these provisions and customs, practices, and policies, Defendants,

24   under color of law, deprive Plaintiffs of the right to free speech in violation of the First and

25   Fourteenth Amendments to the United States Constitution. Plaintiffs are thus damaged in

26   violation of 42 U.S.C. § 1983, and are therefore entitled to damages; declaratory, and preliminary
27   and permanent injunctive relief against continued enforcement and maintenance of Defendants’

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1    unconstitutional provisions, customs, policies, and practices; and attorney fees and expenses

2    pursuant to 42 U.S.C. § 1988.

3                                           PRAYER FOR RELIEF

4           Wherefore, Plaintiffs respectfully request that judgment be entered in their favor and

5    against Defendants as follows:

6           1. Orders preliminarily and permanently enjoining Defendants, their officers, agents,

7               servants, employees, and all persons in active concert or participation with them who

8               receive actual notice of the injunction, from enforcing, generally and against Plaintiffs:

9                  a. The Yolo County public library meeting policy rule that restricts room access to

10                     “ideas that inform, entertain, and inspire;”

11                 b. The Yolo County public library Code of Behavior’s requirement that people

12                     be “treat[ed]” with “respect;”

13                 c. The Yolo County public library Policy’s provision that prohibits “interfer[ing]

14                     in any way with library services” on the basis that speech would require

15                     security;

16                 d. Defendants’ custom, policy, and practice that prohibits speakers from referring

17                     to people in accord with their natal sex (“misgendering”), and from criticizing

18                     or questioning any tenet of ideologies that claim that sex is not binary and

19                     immutable;

20                 e. Defendants’ custom, policy, and practice of enabling the disruption of speakers
21                     who refer to people in accord with their natal sex (“misgendering”), and who

22                     criticize or question any tenet of ideologies that claim that sex is not binary and

23                     immutable, including by inviting and directing protestors to meeting rooms

24                     with the expectation that the protestors would disrupt the disapproved speech,

25                     and by refusing to enforce their Code or other policies governing the disruption

26                     of library events which are expected to contain the disapproved speech;
27

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1              2. Declaratory relief consistent with the injunction, to the effect that Plaintiffs enjoy

2                 a First Amendment right to refer to people as being of their natal sex, and to assert,

3                 criticize or question any ideology or belief with respect to sex or gender;

4              3. Compensatory damages to make Plaintiffs whole for their expenses incurred in

5                 organizing and hosting the August 20 forum, and suffered as a consequence of

6                 Defendants’ unlawful censorship and disruption of that event;

7              4. Nominal damages for the violation of Plaintiffs’ constitutional rights;

8              5. Costs of suit;

9              6. Attorneys’ fees and expenses pursuant to 42 U.S.C. § 1988; and

10             7. Any other relief as the Court deems just and appropriate.

11         Dated: December 4, 2023                Respectfully submitted,
12
                                                /s/ Christiana Kiefer
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